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1                             Shengmao Mu (SBN 327076)
2                         1   Whitewood Law
3                             99 S Almaden Blvd Suite 600
4                         2   San Jose, CA, 95113
5                             Tel: 917-858-8018
6                         3   Fax:917-591-0618
7                         4   smu@whitewoodlaw.com
8
9                         5   Attorney for Plaintiff
0                             HUI WANG
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2                         8                                   UNITED STATE DISTRICT COURT
3                         9                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
4                        10
                         11   Hui Wang,                                             Case No.: 22-4191
    Whitewood Law PLLC




                         12   Plaintiff,                                            COMPLAINT
                         13   vs.
                         14   BXMEX LIMITED, a Colorado Corporation, and
                         15   DOES 1-10,
                         16   Defendants.
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5                        20           Plaintiff, Hui Wang, by and through her attorney, for her Complaint against BXMEX LIMITED
6                        21   (“BXMEX”), a Colorado Corporation, alleges, on information and belief, and on knowledge as to her
7                        22   action, as follows:
8                        23                                      PRELIMINARY STATEMENT
9                        24           1.     This is a cross-continental fraud case where Defendant, through its agent Lin Feng, actively
0                        25   approached Plaintiff and solicited Plaintiff to make so-called “investment” into its scamming website
1                        26   BXMEX. Defendant made false promises that Plaintiff would be able to profit from the investment if
2                        27   Plaintiff could deposit money into its scamming trading platform called BXMEX to purchase digital assets
3                        28   including various crypto currencies. Defendant even showed that Plaintiff made some “profits” ($3,000),


                              ANSWER TO COMPLAINT- 1
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1                         1   which turned out to be forged and illusory, when Plaintiff relied on Defendant’s promise and tested the
2                         2   water by depositing a small amount ($20,000) into the scamming trading platform BXMEX. Plaintiff
3                         3   further relied on the falsified profits shown on Plaintiff’s BXMEX account and deposited a total of
4                         4   $683,000 into BXMEX. When Plaintiff tried to withdraw her own funds, Defendant refused and even
5                         5   required Plaintiff to pay a tax of $247,500 in order to withdraw her own funds. Plaintiff then reported this
6                         6   scamming crime to law enforcements including local police department, Federal Bureau of Investigation,
7                         7   Federal Communications Commission, etc.
8                         8          2.      Plaintiff also alleges that Defendant’s unlawful conducts constitute violation of § 10(b) of
9                         9   the Security and Exchange Act of 1934 because 1) Defendant, through its agent Lin Feng, made material
0                        10   misrepresentation that investment into crypto-currencies will make good profits, 2) such misrepresentation
1                        11   was made willfully, 3) there is a connection between the misrepresentation and the purchase of a security
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2                        12   because Defendant specifically told Plaintiff to make investment into various crypto-currencies on its
3                        13   scamming website, 4) Plaintiff actually relied on Defendant’s misrepresentation, 5) Plaintiff suffered a
4                        14   loss of all her investment of $683,000, 6) and such loss was caused by Defendant’s misrepresentation.
5                        15          3.      Plaintiff seeks damages of $683,000, plus cost and fees, and injunctive relief that prohibits
6                        16   the transfer of various digital assets on BXMEX.
7                        17                                                JURISDICTION
8                        18          4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, in that this is a
9                        19   civil action arising under § 10(b) of the Security and Exchange Act of 1934.
0                        20          5.      Alternatively, this Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1), in that this is
1                        21   a civil action between citizen of California and citizen of Colorado as Hui Wang is a citizen of California
2                        22   and BXMEX is a citizen of Colorado.
3                        23                                                    VENUE
4                        24          6.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that a substantial part of
5                        25   the events or omissions giving rise to the claim occurred in this district because BEMEX’s agent Lin Feng
6                        26   work lived in San Marino, California, perpetrated the fraud in this district.
7                        27                                                   PARTIES
8                        28          7.      Plaintiff lives in La Canada, California.


                              ANSWER TO COMPLAINT- 2
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1                         1          8.     Defendant is registered with Money Services Businesses (MSBs), with an address of 1099
2                         2   18th St Suite 2900, Denver, Colorado, and is doing business states including AK AL AR AS AZ CA CO
3                         3   CT DC DE FL FM GA GU HI IA ID IL IN KS KY LA MA MD ME MH MI MN MO MP MS MT NC
4                         4   ND NE NH NJ NM NV NY OH OK OR PA PR PW RI SC SD TN TX UT VA VI VT WA WI WV WY.
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5                                              (True and Correct Screenshot of BEMEX’s Registration with MSBs)
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6                        24          9.     Upon belief and information, BXMEX is a centralized cryptocurrency exchange
7                        25   established in March 2020.
8                        26          10.    Upon belief and information, BXMEX claims to have presence in London.1 See Exhibit 1.
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                         28     https://youcontrol.com.ua/en/catalog/gb-
                              card/12383247/?__cf_chl_tk=55uLBv.crYcEnk.zwAc2glx3gsJ89kaW1RpA1IBdFTo-1654887332-0-gaNycGzNB5E


                              ANSWER TO COMPLAINT- 3
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1                         1             11.      Upon belief and information, BXMEX is actually established and controlled by a group of
2                         2   Chinese citizens hiding in foreign countries.
3                         3             12.      Upon belief and information, the person that has significant control over BXMEX is Mr
4                         4   Yixin Liu, who is a Chinese citizen residing at Room 301, No.8 Maojiayuan Street, Donghu District,
5                         5   Nanchang City, Jiangxi Province, China, 330008.2 See Exhibit 2.
6                         6             13.      Upon belief and information, BXMEX has scammed other innocent people by contacting
7                         7   the victims and guided the victims to download the scamming applications (BXMEX.app) so that victims
8                         8   can deposit money to BXMEX for a promised profit.3 See Exhibit 3.
9                         9             14.      Many victims, including Ms. Wang relied on BXMEX’s false promises and deposited
0                        10   funds to BXMEX and resulted in total loss of all the funds.
1                        11             15.      Upon belief and information, BXMEX.app is rated as a scamming application by
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2                        12   scamadviser.com.4 See Exhibit 4.
3                        13             16.      In fact, on April 29, 2022, BXMEX.com is no longer accessible, so is its application.
4                        14                                                            FACTS
5                        15             17.      Plaintiff Ms. Wang is a single mom living in La Canada California, who fell into an
6                        16   elaborate trap set up by Defendant.
7                        17             18.      In early March, a person who claimed to be Lin Feng contacted Ms. Wang through the
8                        18   LinkedIn and then added Ms. Wang as friend, asked for Ms. Wang’s WeChat number and started
9                        19   conversation with Ms. Wang via the WeChat application. Lin Feng claimed to work for Tesla and lived
0                        20   in San Marino, California. He claimed that he invested in cryptocurrency and showed Ms. Wang a
1                        21   screenshot of his profitable investment, from which he earned $90,000 out $450,000 in 30 seconds.
2                        22             19.      Lin Feng claimed to be a computer professional, and he claimed that he could use a special
3                        23   algorithm, which combined global transaction volume to obtain the most accurate trading time to make a
4                        24   profit.
5                        25             20.      On or around March 7, 2022, Lin Feng guided Ms. Wang into transferring $20,000 to
6                        26   crypto.com, all of which was used to purchase USDC, a type of cryptocurrency commonly used as a stable
                         27   2
                                  https://find-and-update.company-information.service.gov.uk/company/12383247/persons-with-significant-control
                              3
                         28       https://patch.com/illinois/westernsprings/heres-how-western-springs-woman-lost-30k-cops
                              4
                                  https://www.scamadviser.com/check-website/bxmex.app


                              ANSWER TO COMPLAINT- 4
                              Case 2:22-cv-04191-AB-JEM Document 1 Filed 06/17/22 Page 5 of 15 Page ID #:5




1                         1   coin with close to 1:1 ratio to US Dollars. Lin Feng then induced Ms. Wang to transfer the $20,000 USDC
2                         2   from crypto.com to BXMEX. That night, BXMEX’s account showed that Ms. Wang made profits of
3                         3   $3,000. However, Ms. Wang was never able to withdraw any money from BXMEX.
4                         4              21.      On or around March 8, 2022, Lin Feng asked Ms. Wang, again, to deposit $300,000 worth
5                         5   USDC bought from Crypto.com into BXMEX. Lin Feng stated that Ms. Wang needed to invest more in
6                         6   the initial stage so that she could profit faster. Lin Feng even asked Ms. Wang to borrow money from
7                         7   family, which Ms. Wang did.
8                         8              22.      In total, with nine transactions, Ms. Wang invested $683,000, from her own savings, her
9                         9   family, and various loans, into BXMEX, under the influence and deceit of BXMEX’s agent Lin Feng. Ms.
0                        10   Wang’s $683,000 worth USDC was all converted, without her consent, by BXMEX, into USDT, which
1                        11   is another cryptocurrency, which was then channeled into various BXMEX wallets located in foreign
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2                        12   countries (“Wallet addresses that need to be restrained”) shown below5:
                         13                                                                            ACCOUNT BALANCE as
                                                  Wallet Addresses that need to be restrained          of June 12, 2022 according
                         14
                                                                                                              to Etherscan
                         15         1      0x949a5293d487621184ae45a0e7ccf8d77a6d207e                             $15.14
                         16         2      0x064326d4b195e577baefc6ad11cd7053585057db                             $0.00
                         17         3      0x0f4c6cc5492dbbeb567ad752afa4ea16f44e51c6                             $0.00
                                    4      0x1929dec5693ec84399250733e74afcb487ce5589                             $0.00
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                                    5      0x36cdb93a5700945a00ec5940ddb35fb62dced10b                         $1,186,638.65
                         19         6      0x37db378bce7aa1ac914c75e24571c41ef23603ad                             $95.06
                         20         7      0x3a8caaa75ce3a5577a473749df5bff63455ec459                           $20,942.50
                         21         8      0x41a1155df68248da5af92601f802b68d986babd3                             $49.75
                                    9      0x4b73031a366b7865e929cd56ae6d8f417a416bf7                           $25,135.06
                         22
                                   10      0x54e6e849d8a1abbaed54074140a64826cc457219                             $85.47
                         23        11      0x557bf357e2b6b4f96359fa7ae01b053314d94fb0                           $9,591.67
                         24        12      0x6fd1e8a4614b5bf775994b77502c5956afc06bac                            $164.96
                         25        13      0x71bb3bb4d63f3c9e73b4380d238562c6f9c3a746                             $0.00
                                   14      0x76edabf81416b4d6f8776cfbdd3e0b06c84403dc                             $0.00
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                                   15      0x7a96d8c26233dbadf92650d3c27d28ddd72eb085                          $214,679.55
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                                  Highlighted mean active this address is very active.


                              ANSWER TO COMPLAINT- 5
                              Case 2:22-cv-04191-AB-JEM Document 1 Filed 06/17/22 Page 6 of 15 Page ID #:6




                          1        16      0x7e2861b32e25505f39b40b19ac05c8ee05d4a292                        $25,994,191.00
                                   17      0x8d20d90ae63419fccd67725922b6148b29adf529                            $61.05
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                                   18      0x949a5293d487621184ae45a0e7ccf8d77a6d207e                            $15.20
                          3        19      0x957bad844834c960005881bab478c9e767842c98                            $37.46
                          4        20      0xa8676ec3f6cd00d7f28f2bc8bbaf4b05b22d9d64                            $34.36
                          5        21      0x0c7ee68c8e13dc94e9bd2b62b13ed12b806dab8c                            $64.31
                                   22      0x503740af25a395176c6ff2db397e0798a4b2933b                             $5.76
                          6
                                   23      0x375bae7c4ba9ebb746f7415c1aafcaf213605b05                             $0.00
                          7        24      0x51b638ae62e2fe9901867656469eb24c9b12adc6                             $1.39
                          8        25      0x55b8afedb93e6ee9f7a43e6461f2ae2278fb00f7                             $1.35
                          9        26      0x5a491f9d1a920d411df771a647c183bdc4a3b3fe                             $0.00
                                   27      0xa297442da4fff058b8409f7a0674794811b73527                             $1.75
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                                   28      0xa7b5bce793afe4d3048b8c2aa67c28d78be0ca7a                             $0.30
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                                   29      0xb0d16e70a673529f482fe0434b3e438a38f8fbc9                             $0.00
                         12        30      0xb56f7d20ddf295890d2c3d514238680359b5b23a                             $0.69
                         13        31      0x8c2e8727b6e90135f63409e98a9e84f8ad4695a9                            $156.61
                                   32      0x6F99240E58f0848741459F1059FeCCC3B4ee3c36                         $148,321.71
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                                   33      0xd136c879d2baccbb65c93039d730ac1b8b6b8ca5                             $2.62
                         15        34      0xd3ef762a172da20b02af8f0e01c0b718a5676511                            $10.62
                         16        35      0xdfd1eb82d1561f4050d9b2f12c4bf33d2d796370                             $0.00
                         17        36      0xeb60841a784f70e3df0f5b5af945872697aadc2e                             $0.69
                                   37      0xf27e80908395f1b9489bb4824d0d61fda415eb31                             $0.29
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                         19                0xf56fdb97e2bfa205d44f2b311003c2b3acd5dbae                             $0.00
1                        20             23.     Funds in these wallet addresses were frequently transferred to foreign exchange platforms
2                        21   outside the reach of U.S. laws including but not limited to FTX.com, which is a Bahamian cryptocurrency
3                        22   exchange, is incorporated in Antigua and Barbuda and headquartered in the Bahamas6, and Bitkub.com,
4                        23   which is a Thailand based cryptocurrency exchange. The whole scamming scheme is complicated, which
5                        24   is described in more details in flowcharts in Exhibit 5.
6                        25             24.     Since March 26, 2022, Ms. Wang was attempting, unsuccessfully to withdraw her funds
7                        26   from her BXMEX account.
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                                  https://en.wikipedia.org/wiki/FTX_(company)


                              ANSWER TO COMPLAINT- 6
                              Case 2:22-cv-04191-AB-JEM Document 1 Filed 06/17/22 Page 7 of 15 Page ID #:7




1                         1          25.     On or around March 29, 2022, she was told by BXMEX representative that she needed to
2                         2   pay taxes in order to withdraw all assets. See screenshots below.
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4                                                   (Conversation between Plaintiff and BXMEX representative)
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                              ANSWER TO COMPLAINT- 7
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7                        27                    (Conversation between Plaintiff and BXMEX representative)
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                              ANSWER TO COMPLAINT- 8
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1                                              (Conversation between Plaintiff and BXMEX representative)
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                              ANSWER TO COMPLAINT- 9
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2                        24                 (Screenshots showing that Ms. Wang’s withdrawal of the funds was unsuccessful)
3                        25
4                        26           26.      Ms. Wang’s BXMEX account showed a total profit of $825,000, which Ms. Wang was
5                        27    never able to withdraw. In fact, BXMEX asked Ms. Wang to pay a tax of $247,500 in order for Ms. Wang
6                        28    to withdraw her own funds from the BXMEX account.


                               ANSWER TO COMPLAINT- 10
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1                         1           27.      Until then, Ms. Wang realized that this is a scam, and she reported this crime to Crescenta
2                         2    Valley Sheriff's Station on March 26, 2022. See Exhibit 6.
3                         3           28.      On or around April 4, 2022, Ms. Wang filed a report with the Federal Trade Commission.
4                         4    (“FTC”). See Exhibit 7.
5                         5           29.      On or around April 5, 2022, Ms. Wang reached out to Congressman Adam B. Schiff for
6                         6    assistance. Mr. Schiff reached to the United States Securities And Exchange Commission (“SEC”) and
7                         7    got a response from SEC stating that SEC had forwarded the correspondence to SEC’s Office of Investor
8                         8    Education and Advocacy (“OIEA”). See Exhibit 8.
9                         9           30.      On or around April 9, 2022, Ms. Wang filed a report with the Federal Bureau of
0                        10    Investigation (“FBI”). See Exhibit 9.
1                        11           31.      On April 24, 2022, Lin Feng also contacted Ms. Wang to pay the so-called taxes.
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2                        12           32.      On April 29, 2022, BXMEX.com is no longer accessible, so is its application.
3                        13                                                     COUNT I
4                        14                                         (Fraudulent Misrepresentation)
5                        15            33.     Plaintiff incorporates all the foregoing paragraphs of Plaintiff’s Complaint as if set forth
6                        16    fully herein.
7                        17            34.     Defendant made misrepresentation to Plaintiff because in early March 2022, BXMEX’s
8                        18    agent Lin Feng promised Plaintiff that she would profit from the so-called investment in BXMEX.
9                        19    Defendant also made false statement by showing Plaintiff that she earned $3,000 on or around March 7,
0                        20    2022 from her investment into BXMEX. BXMEX continued to make false representation to Plaintiff that
1                        21    she was earning profit via the BXMEX application since March 7, 2022. BXMEX further made
2                        22    misrepresentation to Plaintiff on or around March 29, 2022, that in order for Plaintiff to withdraw her
3                        23    funds, she must pay a 30% tax to Defendant, which was untrue.
4                        24            35.     Defendant clearly knew that the above-mentioned statements were false.
5                        25            36.     Plaintiff justifiably relied on the false statements by transferring a total of $638,000 worth
6                        26    USDC into BXMEX.
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                               ANSWER TO COMPLAINT- 11
                              Case 2:22-cv-04191-AB-JEM Document 1 Filed 06/17/22 Page 12 of 15 Page ID #:12




1                         1            37.     Plaintiff suffered damages of $683,000 because Defendant already closed down its website
2                         2    and disabled the application and refused Plaintiff from withdrawing her own funds.
3                         3
4                         4                                                    COUNT II
5                         5                                         (Negligent Misrepresentation)
6                         6           38.      Plaintiff incorporates all the foregoing paragraphs of Plaintiff’s Complaint as if set forth
7                         7    fully herein.
8                         8           39.      There is a misrepresentation of a past and existing material fact Defendant made
9                         9    misrepresentation to Plaintiff because in early March 2022, BXMEX’s agent Lin Feng promised Plaintiff
0                        10    that she would profit from the so-called investment in BXMEX. Defendant also made false statement by
1                        11    showing Plaintiff that she earned $3,000 on or around March 7, 2022 from her investment into BXMEX.
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2                        12    BXMEX continued to make false representation to Plaintiff that she was earning profit via the BXMEX
3                        13    application since March 7, 2022. BXMEX further made misrepresentation to Plaintiff on or around March
4                        14    29, 2022, that in order for Plaintiff to withdraw her funds, she must pay a 30% tax to Defendant, which
5                        15    was untrue.
6                        16           40.      The statements were made without reasonable ground for believing it to be true but
7                        17    Defendant planned the whole scheme with the purpose to steal money from victims like Plaintiff.
8                        18           41.      In fact, Defendant made the statement with the intent to induce Plaintiff’s reliance on the
9                        19    misrepresented facts because Defendant even showed Plaintiff that his agent Lin Feng could earn $90,000
0                        20    profit within 30 seconds. The BXMEX application was also built by Defendant to provide false
1                        21    information such as alleged profits so that Plaintiff could continue to transfer funds into Defendant.
2                        22           42.      Plaintiff justifiably relied on the false statements by transferring $638,000 worth USDC
3                        23    into BXMEX.
4                        24           43.      Plaintiff suffered damages of $683,000.
5                        25                                                   COUNT III
6                        26                        (Violation of § 10(b) of the Security and Exchange Act of 1934)
7                        27           44.      Plaintiff incorporates all the foregoing paragraphs of Plaintiff’s Complaint as if set forth
8                        28    fully herein.


                               ANSWER TO COMPLAINT- 12
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1                         1              45.   Securities and Exchange Commission Rule 10b-5, 17 C.F.R. § 240.10b-5(a)-(c) (1975),
2                         2    provides: It shall be unlawful for any person, directly or indirectly, by the use of any means or
3                         3    instrumentality of interstate commerce, or of the mails or of any facility of any national securities
4                         4    exchange, to employ any device, scheme, or artifice to defraud, to make any untrue statement of a material
5                         5    fact or to omit to state a material fact necessary in order to make the statements made, in the light of the
6                         6    circumstances under which they were made, not misleading, or to engage in any act, practice, or course
7                         7    of business which operates or would operate as a fraud or deceit upon any person, in connection with the
8                         8    purchase or sale of any security. Ernst & Ernst v. Hochfelder, 425 U.S. 185, 187, 96 S. Ct. 1375, 1378
9                         9    (1976).
0                        10              46.   Plaintiff has purchased security by investing funds into Defendant through a private
1                        11    offering when Defendant’s agent Lin Feng approached Plaintiff and requested Plaintiff to make such an
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2                        12    investment.
3                        13              47.   Defendant used means of interstate commerce when Defendant used its application and
4                        14    website and communicated with Plaintiff via the WeChat application, and the BXMEX application. The
5                        15    whereabout of Lin Feng was unknown but Plaintiff has reason to believe that Lin Feng is a fictious person
6                        16    who might travel between different states and countries while setting up this scamming scheme and
7                        17    misleading Plaintiff into purchasing the securities offered by BXMEX. BXMEX claimed to have presence
8                        18    in the UK, China, and Colorado. The communications between Defendant and Plaintiff via various means
9                        19    such as webchat in the BXMEX application, LinkedIn, and WeChat, constitutes means of interstate
0                        20    commerce or instrumentality of interstate commerce.
1                        21              48.   Defendant made material misrepresentation to Plaintiff because in early March 2022,
2                        22    BXMEX’s agent Lin Feng promised Plaintiff that she would profit from the so-called investment in
3                        23    BXMEX. Defendant also made false statement by showing Plaintiff that she earned $3,000 on or around
4                        24    March 7, 2022 from her investment into BXMEX. BXMEX continued to make false representation to
5                        25    Plaintiff that she was earning profit via the BXMEX application since March 7, 2022. BXMEX further
6                        26    made misrepresentation to Plaintiff on or around March 29, 2022, that in order for Plaintiff to withdraw
7                        27    her funds, she must pay a 30% tax to Defendant, which was untrue.
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                               ANSWER TO COMPLAINT- 13
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1                         1              49.      These false statements are material and have caused Plaintiff to lose money because
2                         2    Plaintiff would not have invested anything into BXMEX but for the promised profits allegedly made by
3                         3    BXMEX’s agent Lin Feng or but for the falsified profits shown by the BXMEX’s application when
4                         4    Plaintiff was deceived into investing the initial $20,000 on or around March 7, 2022.
5                         5              50.      Defendant was knowingly making these false statements to Plaintiff because Defendant
6                         6    has also scammed other victims such as the one in Illinois7. For the victim in Illinois, Lin Feng asked the
7                         7    victim to pay another fee on April 24, 2022, which is the same day when Lin Feng asked Ms. Wang to
8                         8    pay the so-called taxes.
9                         9              51.      Defendant has been continuing lying to Plaintiff even when Plaintiff was attempting to
0                        10    withdraw her own funds because Defendant asked Plaintiff to pay another $247,500 for making an illusory
1                        11    profit of $825,000.
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2                        12              52.      The fact that Defendant channeled Plaintiff’s funds into various cryptocurrency wallet
3                        13    addresses located in foreign countries such as Thailand and Bahamas, where the U.S. laws cannot reach,
4                        14    strongly indicated that Defendant planned this whole scheme on purpose. There is no other plausible
5                        15    explanation for Defendant’s unlawful conducts.
6                        16              53.      Plaintiff relied on Defendant’s promise and tested the water by depositing a small amount
7                        17    ($20,000) into the scamming trading platform BXMEX. Plaintiff further relied on BXMEX’s promised
8                        18    profits shown on Plaintiff’s BXMEX account and deposited a total of $683,000 into the scamming trading
9                        19    platform BXMEX.
0                        20              WHEREFORE, Plaintiff prays that judgment against Defendant as follows:
1                        21              1.       Cryptocurrency institutions such as Tether immediately freeze all the cryptocurrencies
2                        22    located in the 38 wallet addresses mentioned herein;
3                        23              2.       That Defendant disgorge Plaintiff’s funds of $683,000;
4                        24              3.       That Plaintiff be awarded punitive damages;
5                        25              4.       That Plaintiff be awarded reasonable attorneys’ fees and costs; and
6                        26              5.       Award any and all other relief that this Court deems just and proper.
7                        27
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                                   https://patch.com/illinois/westernsprings/heres-how-western-springs-woman-lost-30k-cops


                               ANSWER TO COMPLAINT- 14
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1                                    Date: June 17, 2022                By: __/s/Shengmao Mu_______________
                          1
2                                                                        SHENGMAO MU
3                         2
4                                                                       Whitewood Law
5                         3                                             99 S Almaden Blvd, Suite 600
6                                                                       San Jose, CA, 95113
7                         4                                             Tel: 917-858-8018
8                         5                                             Fax:917-591-0618
9                                                                       smu@whitewoodlaw.com
0                         6
1                                                                       Attorney for Plaintiff Hui Wang
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                         11
    Whitewood Law PLLC




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                               ANSWER TO COMPLAINT- 15
